                        Case 3:19-mj-08077-MAT Document 1 Filed 08/26/19 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                                                                                             FILED
                                                                                                           08/26/2019
                               WESTERN DISTRICT OF TEXAS, EL PASO DIVISION                          Clerk, U.S. District Court
                                                                                                    Western District of Texas


                                                                                              By:               RRV
                                                                                                                                 Deputy




USA                                                             §
                                                                § CRIMINAL COMPLAINT
vs.                                                             § CASE NUMBER: EP:19-M -08077(1) - MAT
                                                                §
(1) JAVIER ENAMORADO-JIRON                                      §


                I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about August 24, 2019 in El Paso county, in the WESTERN DISTRICT OF TEXAS

defendant did, being an alien to the United States, enter, attempt to enter, or was found in the United States after

having been previously excluded, deported, or removed from the United States without receiving permission to reapply

for admission to the United States from the Attorney General of the United States and the Secretary of Homeland

Security, the successor pursuant to Title 6, United States Code, Sections 202(3), 202(4), and 557



in violation of Title              8               United States Code, Section(s)      1326

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts:

"The DEFENDANT, Javier ENAMORADO-Jiron, an alien to the United States and a citizen of Costa Rica was found

approximately .18 miles west of the Paso Del Norte, Texas Port of Entry in the Western District of Texas.                        From

statements made by

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                               Signature of Complainant
                                                                               Rodriguez, Luis Enrique
                                                                               Border Patrol Agent

08/26/2019                                                                at   EL PASO, Texas
File Date                                                                      City and State



MIGUEL A. TORRES                                                               ______________________________
UNITED STATES MAGISTRATE JUDGE                                                 Signature of Judicial Officer
                  Case 3:19-mj-08077-MAT Document 1 Filed 08/26/19 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:19-M -08077(1)

WESTERN DISTRICT OF TEXAS

(1) JAVIER ENAMORADO-JIRON

FACTS   (CONTINUED)

the DEFENDANT to the arresting agent, the DEFENDANT was determined to be a native and citizen of Costa
Rica, without immigration documents allowing him to be or remain in the United States legally. The
DEFENDANT has been previously removed from the United States to Mexico on March 23, 2007 through El
Paso, Texas. The DEFENDANT has not previously received the expressed consent from the Attorney General
of the United States or the Secretary of Homeland Security to reapply for admission into the United States.

Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.

IMMIGRATION HISTORY:
The DEFENDANT has been deported 1 time(s), the last one being to COSTA RICA on March 23, 2007, through
PASO DEL NORTE, TX, BRIDGE


CRIMINAL HISTORY:
01/23/2004, CHICAGO, ILLINOIS, POSSESSION CANNABIS(M), ACC, BOND FORFEITURE, JUDGEMENT ON
FORFEITURE, STRICKEN OFF WITH LEAVE TO REINSTATE.
07/28/2005, CHICAGO, ILLINOIS, ROBBERY(F), CNV, 5 YEARS IMPRISONMENT.
07/28/2005, CHICAGO, ILLINOIS, AGRAVATED BATTERY/BODILY HARM(F), CNV, 5 YEARS IMPRISONMENT.
